Case 2:03-cv-00180-wks Document 32 Filed 10/06/03 Page 1 of 2

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AO 450 (Rev. 5/85) Judgment ina Civil Case

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DISTRIGT FE VERMONT

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United States District Court

District of Vermont Qcr 6 10 54 AH 03

SCOTT C. TRAUDT, . CLER | y
: BY aera
Plaintiff, : DEPUTY GLERK
JUDGMENT IN A CIVIL CASE
Vv.

CASE NUMBER: 2:03-CV-180

F/V LUKE AND SARAH,

WOOD HOLLOW TRAWLERS, INC.,
NEIL STODDARD,

INTERMODAL TRANSPORT SERVICES,
and SUNDERLAND MARINE MUTUAL
INSURANCE CO.,

Defendants.

Jury Verdict. This action came before the Court for trial by jury. The issues have been
tried and the jury has rendered its verdict.

X__ Decision by Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that pursuant to the Opinion and Order (Paper No. 31) filed
October 3, 2003, defendants F/V Luke and Sarah, Wood Hollow Trawlers, Inc., Neil Stoddard,
Intermodal Transport Services, and Sunderland Marine Mutual Insurance Co.’s Motion to Dismiss
(Paper No. 11) is GRANTED and defendant Sunderland Marine Mutual Insurance Co.’s Motion to
Dismiss (Paper No. 21) is GRANTED. This case is DISMISSED without prejudice for lack of
personal jurisdiction to Federal Rule of Civil Procedure 12(b)(2). JUDGMENT is hereby entered
for the defendants F/V Luke and Sarah, Wood Hollow Trawlers, Inc., Neil Stoddard, Intermodal
Transport Services, and Sunderland Marine Mutual Insurance Co., against the plaintiff Scott C.
Traudt.

RICHARD PAUL WASKO _-
Date: October 6, 2003 Clerk -

JUDGMENT ENTERE:, ON DOCKET
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Case 2:03-cv-00180-wks Document 32 Filed 10/06/03 Page 2 of 2

UNITED STATES DISTRICT COURT (AEN enone RS)
OFFICE OF THE CLERK P.O. BOX 945
RICHARD PAULWASKO DISTRICT OF VERMONT (802-951-6301)
CLERK FEDERAL BUILDING .
BURLINGTON, VERMONT 05402-0945 (GIVISTONAL oeelen)

P.O. BOX 607
(802-773-0245)

™@ BRATTLEBORO 05302-0998
(DIVISIONAL OFFICE)
P.O. BOX 998
(802-254-0250)

Civil Action No. 2:03-CV-180 Date October 6, 2003

Scott C. Traudt vs. F/V Luke and Sarah, et al

NOTICE TO LITIGANTS

If you wish to appeal the enclosed judgment or order, you must file a Notice of Appeal within 30 days
after date of the entry of the judgment or order appealed from (or 60 days if the United States or an
officer or agency of the United States is a party). Fed.R.App.P. 4(a)(1). The fee for filing an appeal is
$105.00.

If you wish to appeal but are unable to file your Notice of Appeal within 30 days [or 60 days if
applicable] after the date of entry shown on line 2 below, then you have an additional 30 days to file a
Motion for Extension of Time. The Motion for Extension of Time must be filed within the additional 30
days after the date on line 3 below. Every Motion for Extension of Time must contain an explanation
which demonstrates “good cause” or “excusable neglect” for failure to file the Notice of Appeal within
the time limit required. Fed.R.App.P. 4(a)(5).

PLEASE TAKE NOTICE

1. Judgment or Order filed October 6, 2003

2. Date of Entry of Judgment or
Order on the docket of this court October 6, 2003

3. Notice of Appeal MUST be filed
on or before Novermber 5, 2003

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Deputy Clerk

